                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:04-cr-00295-RJC-DCK

 USA,                                           )
                                                )
                   Plaintiff,                   )            ORDER
                                                )
         vs.                                    )
                                                )
 MELVIN BURNS (2),                              )
           Defendant.                           )




        THIS MATTER is before the Court upon motion of the defendant pro se again

requesting that the Court modify its sentence or recommend that the United States dismiss its

Information under 21 U.S.C. § 851. (Compare Doc. Nos. 173 and 170).

        In the instant motion, the defendant cites a decision from the Eastern District of New

York in which the judge requested that the United States Attorney consider her discretion to

agree to an order vacating the petitioner’s convictions under 18 U.S.C. § 924(c) in proceedings

under 28 U.S.C. § 2255. United States v. Holloway, 68 F. Supp. 3d 310, 314 (E.D.N.Y. 2014).

A number of judges have rejected the so-called Holloway Doctrine and recognized that a district

court has limited authority to modify a sentence once it has been imposed. See e.g. United States

v. Sumner, --- F. Supp. 3d ---, at *3 (D.D.C. 2016); Brown v. United States, 2016 WL 4745822,

at *2 (N.D. Ohio Sept. 13, 2016); Slade v. United States, No. 4:08-CR-3-FL, 2016 WL 3911918,

at *4 (E.D.N.C. July 15, 2016), appeal dismissed, No. 16-7370, 2017 WL 464462 (4th Cir. Feb.

3, 2017); Acuna v. United States, 2016 WL 3747531, at *2 (D. Haw. July 8, 2016); Wade v.

United States, 2015 WL 7732834, at *2 (D. Md. Nov. 30, 2015). Here, the Court likewise finds




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no basis in law to recommend that the United States dismiss its Information under 21 U.S.C. §

851 to reduce the defendant’s sentence, which became final years ago.

       IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 173), is

DENIED.


                                            Signed: April 27, 2017




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